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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
                                                          Case No. 12-20553
v.
                                                          Hon. George Caram Steeh
MARLON ALLEN,

         Defendant.
__________________________/

                             ORDER DENYING REQUEST
                        FOR HOME CONFINEMENT (ECF No. 41)

          Defendant Marlon Allen requests that the court release him to home

confinement, because of his health conditions, the COVID-19 pandemic,

and the recent death of his sister. Although the court sympathizes with

Allen’s situation and encourages him to continue his efforts at rehabilitation,

the court lacks authority to transfer him to home confinement.

          In response to the COVID-19 pandemic, the Bureau of Prisons

(“BOP”) has been evaluating prisoners nationwide in order to determine

which inmates face the most risk from COVID-19, pose the least danger to

public safety, and can safely be granted home confinement. 1 This effort is



1
    See Attorney General’s Directives to BOP, available at https://www.bop.gov/coronavirus/faq.jsp.
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consistent with the Coronavirus Aid, Relief and Economic Security Act

(“CARES Act”), Pub. L. No. 116-136, 516 § 12003(b)(2), 134 Stat. 281

(2020), which provides that “if the Attorney General finds that emergency

conditions will materially affect the functioning of the BOP, the Director of

the Bureau may lengthen the maximum amount of time for which the

Director is authorized to place a prisoner in home confinement.” Id. The

CARES Act does not alter the statutory directive that the BOP has the sole

authority to determine a prisoner’s place of incarceration. 18 U.S.C.

§ 3621(b). The BOP’s decision in this regard “is not reviewable by any

court.” 18 U.S.C. § 3621(b). See United States v. Mitchell, 2020 WL

3972656, at *5 (E.D. Mich. July 14, 2020) (“The CARES Act does not

authorize courts to transfer a prisoner to home confinement for the

remainder of his sentence.”). Allen’s request for home confinement must be

directed to the BOP.

      Another potential avenue for relief for Allen is a motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A), as amended

by the First Step Act of 2018. This section allows for judicial modification of

an imposed term of imprisonment when three criteria have been met: (1)

the defendant has first exhausted all administrative remedies with the BOP

or at least allowed the BOP 30 days to act on his request before seeking

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compassionate release on his own motion; (2) extraordinary and

compelling reasons warrant such a reduction; and (3) the reduction is

consistent with the applicable policy statements issued by the Sentencing

Commission and the court has considered the factors set forth in section

3553(a). 18 U.S.C. § 3582(c)(1)(A)(i).

      The Sixth Circuit has recently determined that the exhaustion

requirement is mandatory and may not be excused by the court. United

States v. Alam, 960 F.3d 831, 835 (6th Cir. 2020) (finding the failure to

exhaust to be a “glaring roadblock foreclosing compassionate release”)

(quoting United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)). Allen has

not alleged that he has sought compassionate release from the BOP, which

he must do before seeking relief from the court. Accordingly, to the extent

Allen’s request for home confinement could be construed as a motion for

compassionate release, the court must deny it without prejudice. Alam, 960

F.3d at 836.

      IT IS HEREBY ORDERED that Allen’s request for home confinement

is DENIED.

Dated: November 9, 2020
                                     s/George Caram Steeh
                                     GEORGE CARAM STEEH
                                     UNITED STATES DISTRICT JUDGE



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                               CERTIFICATE OF SERVICE

               Copies of this Order were served upon attorneys of record on
               November 9, 2020, by electronic and/or ordinary mail and also
                  on Marlon Allen #44626-039, FCI Terre Haute, Federal
               Correctional Institution, P.O. Box 33, Terre Haute, IN 47808.

                                     s/Brianna Sauve
                                       Deputy Clerk




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